          Case 23-32810 Document 216 Filed in TXSB on 11/20/23 Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                         §
                                                §      CASE NO. 23-32810 (CML)
 Polaris Operating, LLC, et. al.,               §
                                                §
               Debtors.                         §      Chapter 11
                                                §
                                                §      (Jointly Administered)

                   3CHA OIL AND GAS, LLC’S AND TATCH LLC’S
            RESPONSE TO DEBTOR’S EMERGENCY MOTION [DOC. NO. 211]

          COMES NOW 3CHA Oil and Gas, LLC (“3CHA”) and TATCH LLC (“TATCH”)

(collectively “3CHA/TATCH”), and files this their response to the Debtors’ Emergency Motion

regarding bidding procedures for upcoming auctions, which the Debtors filed on November 16,

2023 [Doc. No. 211]. 3CHA/TATCH respectfully show the Court as follows:

          3CHA/TATCH own a combined total of over fifty percent (50%) of the common shares

and preferred shares of the Debtors (Polaris and CCCB Energy Partners, LLC). This response is

limited to the Debtors’ potential auction of the WGU Waterflood Assets, which is Polaris’s

ownership interest in a water flood project in Oklahoma, known as the WGU Waterflood Project.

See Debtors’ Emerg. Mot. [Doc. 211] at ¶¶14-15. 3CHA/TATCH do not object to the Debtors’

intention to auction the other two “buckets” of assets: the Mesa Vista Assets or the Masterson

Assets.     However, the WGU Waterflood Assets are completely unlike the Mesa Vista and

Masterson Assets in at least two important ways.

          First, Polaris operates the Mesa Vista and Masterson Assets; whereas, it is a mere investor

in the WGU Waterflood Project (the WGU Waterflood Assets is Polaris’s investment in this

Project). Polaris has a substantial ownership percentage in the WGU Waterflood Project; however,
        Case 23-32810 Document 216 Filed in TXSB on 11/20/23 Page 2 of 4




as an investor, it has no operational role. Hence, the concerns voiced to the Court thus far about

Polaris not properly operating the Mesa Vista or Masterson Assets are of no concern to the WGU

Waterflood Assets, because the WGU Waterflood Project is operated by a completely different

entity not in bankruptcy.

       Second, the Mesa Vista and Masterson Assets are fully-developed oil and gas interests that

Polaris has been operating and producing for years. The Mesa Vista and Masterson Assets are

mature in terms of their production and, therefore, unlikely to substantially increase in value in the

future. Hence, an auction of the Mesa Vista and Masterson Assets at this time appears sensible.

       In stark contrast, the WGU Waterflood Assets are likely to substantially increase in value

over the next 12-18 months. The WGU Waterflood Project commenced just last year and is still

in the “water flood” phase. It is 3CHA’s and TATCH’s understanding that the operators of the

Project are optimistic about its prospects over the next 12-18 months, where they expect production

to increase (likely substantially).    This substantial increase in production would, in turn,

substantially increase the value of the WGU Waterflood Assets (Polaris’s ownership interest in the

WGU Waterflood Project). Accordingly, 3CHA/TATCH are concerned that an auction now will

generate far less than a disposition later once the Project is more developed.

       The Debtors state that they have not identified a stalking horse for the WGU Waterflood

Assets and that their Chief Restructuring Officer is still determining whether it is in the Debtors’

best interests to auction off the WGU Waterflood Assets. See Debtors’ Emerg. Mot. [Doc. 211] at

¶¶14. Hence, 3CHA and TATCH hereby file the instant Response to reserve their rights to object

to the auction of the WGU Waterflood Assets – if the Debtors (and their CRO) ultimately decide

to proceed with such auction.




                                                  2
Case 23-32810 Document 216 Filed in TXSB on 11/20/23 Page 3 of 4




                           Respectfully submitted,

                           /s/ Gregory K. Evans
                           Gregory K. Evans
                           State Bar No. 24002065
                           greg@gevanslaw.com
                           Law Offices of Gregory K. Evans
                           3355 W. Alabama St., Suite 1150
                           Houston, Texas 77098
                           Ph:       713.485.4600
                           Fax:      713.583.5380

                           Mitchell A. Toups
                           State Bar No. 20151600
                           Weller Green Toups & Terrell LLP
                           P.O. Box 350
                           Beaumont, Texas 77704
                           (409) 838-0101
                           Fax: (409) 832-8577
                           Email: matoups@wgttlaw.com

                           ATTORNEYS FOR 3CHA OIL AND GAS, LLC
                           AND TATCH LLC




                               3
       Case 23-32810 Document 216 Filed in TXSB on 11/20/23 Page 4 of 4




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 21, 2023, the foregoing was served
upon all counsel of record via the Court’s CM/ECF system.


                                                 /s/ Gregory K. Evans
                                                 Gregory K. Evans




                                            4
